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     Attorneys for Gregory Baker
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                  )   Case No.: 2:12-cr-00294-TLN
                                                )
11                Plaintiff,                    )   STIPULATION AND ORDER TO
                                                )   MODIFY THE CONDITIONS OF PRE-
12         vs.                                  )   TRIAL RELEASE AND REQUEST FOR
                                                )   ORDER TEMPORARILY
13   GREGORY BAKER,                             )   EXONERATING THE BOND
                                                )
14                Defendant.                    )
                                                )
15
16
                 REQUEST TO TEMPORARILY EXONERATE THE BOND
17                      FOR THE KARL DRIVE PROPERTY
18
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
19
     $100,000 appearance bond is to be modified. In August of 2012, Mr. Baker’s sister,
20
     Audra Baker, posted two properties to satisfy the $100,000 property bond: one, a
21
     property located at 3624 Karl Drive in North Highlands, California, 95660, and the other, a
22
23   property located at 426 Winterhaven Avenue in Sacramento, California, 95833.
            Since the property bonds were posted, the values of the properties have increased.
24
     The Karl Drive property does have a mortgage and Ms. Baker would like to refinance this
25
     property. However, the property cannot be refinanced since it has a property bond lien.
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     Therefore, because the current value of the Winterhaven property is appraised at
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     $125,000, Ms. Baker would like to request that the bond for the Karl Drive property be
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 1   exonerated temporarily. The parties agree that the Karl Drive property will be re-posted
 2   on the appearance bond within 60 days after it is exonerated. This should be sufficient
 3   time to allow the property to be refinanced.
 4          Michael Beckwith, Assistant United States Attorney, and Thomas A. Johnson,
 5   Defendant’s attorney, both agree to this property bond modification. The Pretrial Services
 6   Officer does not object to the modification of the property bond and the temporary
 7   exoneration of the bond for the Karl Drive property. All other previously ordered
 8   conditions of release remain in full force and effect. Therefore, it is hereby requested that
 9   the secured appearance bond be temporarily exonerated for the property at 3624 Karl
10   Drive in Sacramento, California, 95660 and that the Clerk of the District Court be
11   directed to re-convey the property to the sureties, Audra Baker and Laine Kellener.
12
13
     DATED: April 15, 2014                     Respectfully submitted,
14
15                                             /s/ Thomas A. Johnson
                                               THOMAS A. JOHNSON
16
                                               Attorney for Gregory Baker
17
18   DATED: April 15, 2014                     Respectfully submitted,
19
                                               BENJAMIN B. WAGNER
20                                             United States Attorney
21                                             /s/ Thomas A. Johnson for
22                                             MICHAEL BECKWITH
                                               Assistant United States Attorney
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 1                                            ORDER
 2
 3          IT IS SO ORDERED that the appearance bond secured by Deeds of Trust against
 4   the real property of Audra Baker and Laine Kellener located at 3624 Karl Drive in North
 5
     Highlands, California is hereby temporarily exonerated. The property will be re-posted
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     within 60 days after this exoneration.
 7   Dated: April 16, 2014
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